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                                                                                                           Last revised 12/1/11
                                   UNITED STATES BANKRUPTCY COURT
                                          District of New Jersey
IN RE:      Sharon L. Hamlin                                        Case No.:                      14-10384
                                                                    Judge:                     Gloria M. Burns
                                          Debtor(s)                 Chapter:                          13
CHAPTER 13 PLAN AND MOTIONS - AMENDED

  Original                                 Modified/Notice Required                 Discharge Sought
  Motions Included                         Modified/No Notice Required              No Discharge Sought

Date:

                         THE DEBTOR HAS FILED FOR RELIEF UNDER CHAPTER 13
                                    OF THE BANKRUPTCY CODE.

                                       YOUR RIGHTS WILL BE AFFECTED.

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which
contains the date of the confirmation hearing on the Plan proposed by the Debtor. This document is the actual
Plan proposed by the Debtor to adjust debts. You should read these papers carefully and discuss them with
your attorney. Anyone who wishes to oppose any provision of this Plan or any motion included in it must file a
written objection within the time frame stated in the Notice. This Plan may be confirmed and become
binding, and included motions may be granted without further notice or hearing, unless written
objection is filed before the deadline stated in the Notice.

                  YOU SHOULD FILE A PROOF OF CLAIM BY THE DEADLINE STATED
                   IN THE NOTICE TO RECEIVE DISTRIBUTIONS UNDER ANY PLAN
                THAT MAY BE CONFIRMED, EVEN IF THE PLAN REFERS TO YOUR CLAIM

Part 1: Payment and Length of Plan

        a. The Debtor shall pay $400.00 Monthly for 4 months, then $491.00 Monthly for 1 month, then $691.00 Monthly
        for 1 month, then $704.00 Monthly for 3 months, then $0.00 Monthly for 5 months, then $974.00 Monthly for 46 months
        to the Chapter 13 Trustee, starting on February 1, 2014 for approximately 60 months.

        b. The Debtor shall make plan payments to the Trustee from the following sources:

                        Future Earnings

                        Other sources of funding (describe source, amount and date when funds are available):
        c. Use of real property to satisfy plan obligations:

                         Sale of real property
                         Description:
                         Proposed date for completion:

                         Refinance of real property
                         Description:
                         Proposed date for completion:

                         Loan modification with respect to mortgage encumbering property
                         Description:
                         Proposed date for completion:
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             d.                       The regular monthly mortgage payment will continue pending the sale, refinance or
                                      loan modification.

             e.                       Other information that may be important relating to the payment and length of plan:



Part 2: Adequate Protection

       a. Adequate protection payments will be made in the amount of $                                        to be paid to the Chapter 13
Trustee and disbursed pre-confirmation to    (creditor).

       b. Adequate protection payments will be made in the amount of $                                        to be paid directly by the
debtor(s) outside of the Plan, pre-confirmation to (creditor).

Part 3: Priority Claims (Including Administrative Expenses)

All allowed priority claims will be paid in full unless the creditor agrees otherwise:
 Creditor                                                              Type of Priority                                           Amount to be Paid
 S. Daniel Hutchison SH-6931                                           Attorney Fees                                                       3,000.00
 S. Daniel Hutchison SH-6931                                           Attorney Fees                                                         425.92
 S. Daniel Hutchison SH-6931                                           Attorney Fees                                                       1,100.00
 Bank of America Home Loans                                            Taxes and certain other debts                                         526.00
 Internal Revenue Service                                              Taxes and certain other debts                                       1,062.24
 S. Daniel Hutchison, Esq.                                             Taxes and certain other debts                                         400.00
 State of New Jersey                                                   Taxes and certain other debts                                       2,109.60
 Wells Fargo Dealer Service                                            Taxes and certain other debts                                         526.00
 Wells Fargo Dealer Services                                           Taxes and certain other debts                                         350.00




Part 4: Secured Claims

            a. Curing Default and Maintaining Payments

The Debtor shall pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly obligations
and the Debtor shall pay directly to the creditor (outside the Plan) monthly obligations due after the bankruptcy
filing as follows:
                                                                                                    Interest Amount to be Paid     Regular Monthly
                                                                                                    Rate on     to Creditor (In   Payment (Outside
 Creditor                                   Collateral or Type of Debt                Arrearage   Arrearage              Plan)               Plan)
 Bank of America Home                       122 Coopers Kill Road                      6,522.94         0.00          6,522.94            2,529.56
 Loans                                      Delran, NJ 08075
 PNC Mortgage                               122 Coopers Kill Road                     17,851.68        0.00           17,851.68              1,011.30
                                            Delran, NJ 08075
 PNC Mortgage                               122 Coopers Kill Road                      3,356.68        0.00            3,356.68                115.33
                                            Delran, NJ 08075
 Wells Fargo Dealer                         2011 Ford Explorer - 37, 234                554.41         0.00             554.41                 554.41
 Services                                   Miles


            b. Modification




                                                                                 2
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       1.) The Debtor values collateral as indicated below. If the claim may be modified under Section
1322(b)(2), the secured creditor shall be paid the amount listed as the "Value of the Creditor Interest in
Collateral," plus interest as stated. The portion of any allowed claim that exceeds that value shall be treated as
an unsecured claim. If a secured claim is identified as having "NO VALUE" it shall be treated as an unsecured
claim.

                                       NOTE: A modification under this section ALSO REQUIRES
                                     the appropriate motion to be filed under Section 7 of the Plan.
                                                                                                                    Value of
                                                                                           Total                    Creditor      Annual
                                                                     Scheduled        Collateral      Superior     Interest in   Interest Total Amount
 Creditor                        Collateral                               Debt            Value         Liens      Collateral       Rate to Be Paid
 -NONE-


       2.) Where the Debtor retains collateral and completes the Plan, payment of the full amount of the
allowed secured claim shall discharge the corresponding lien.

            c. Surrender

        Upon confirmation, the stay is terminated as to surrendered collateral. The Debtor surrenders the
following collateral:
 Creditor                                                Collateral to be Surrendered                 Value of Surrendered       Remaining Unsecured
                                                                                                                 Collateral                     Debt
 -NONE-

            d. Secured Claims Unaffected by the Plan

            The following secured claims are unaffected by the Plan:
               Creditor
               Wells Fargo Dealer Services

            e. Secured Claims to be paid in full through the Plan
 Creditor                                                      Collateral                                      Total Amount to be Paid through the Plan
 -NONE-

Part 5: Unsecured Claims

            a. Not separately classified Allowed non-priority unsecured claims shall be paid:

                        Not less than $                   to be distributed pro rata

                        Not less than                 percent

               X        Pro rata distribution from any remaining funds

            b. Separately Classified Unsecured Claims shall be treated as follows:
 Creditor                                                Basis for Separate Classification         Treatment                         Amount to be Paid
 -NONE-




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Part 6: Executory Contracts and Unexpired Leases

            All executory contracts and unexpired leases are rejected, except the following, which are assumed:
 Creditor                                                Nature of Contract or Lease            Treatment by Debtor
 -NONE-

Part 7: Motions

    NOTE: All plans containing motions must be served on all potentially affected creditors, together
    with a Chapter 13 Plan Transmittal Letter, within the time and in the manner set forth in D.N.J. LBR
    3015-1. A Proof of Service must be filed with the Clerk of Court when the Plan and Transmittal
    Letter are served.

    Where a motion to avoid liens or partially avoid liens has been filed in the plan, a proof of claim
    filed that asserts a secured claim that is greater than the amount to be paid in the plan serves as
    opposition to the motion, and serves as an objection to confirmation. The proof of claim shall be
    served in accordance with D.N.J. LBR 3015-6(a). The creditor shall file a proof of service prior to
    the scheduled confirmation hearing. In order to prosecute the objection, the creditor must appear
    at the confirmation hearing, which shall be the hearing on the motion. Failure to appear to
    prosecute the objection may result in the motion being granted and the plan being confirmed
    pursuant to the terms as set forth in the plan.


        a. Motion to Avoid Liens under 11 U.S.C. Section 522(f). The Debtor moves to avoid the following
liens that impair exemptions:
                                                                                                                          Sum of All
                                                                                                         Amount of       Other Liens
                         Nature of                                                       Value of          Claimed       Against the Amount of Lien
 Creditor                Collateral               Type of Lien         Amount of Lien   Collateral       Exemption          Property to be Avoided
 -NONE-

       b. Motion to Avoid Liens and Reclassify Claim from Secured to Completely Unsecured. The
Debtor moves to reclassify the following claims as unsecured and to void liens on collateral consistent with Part
4 above:
 Creditor                                                      Collateral                                            Amount of Lien to be Reclassified
 -NONE-

        c. Motion to Partially Void Liens and Reclassify Underlying Claims as Partially Secured and
Partially Unsecured. The Debtor moves to reclassify the following claims as partially secured and partially
unsecured, and to void liens on collateral consistent with Part 4 above:
                                                                                                                                        Amount to be
                                                                                                     Amount to be Deemed               Reclassified as
 Creditor                                                Collateral                                               Secured                  Unsecured
 -NONE-

Part 8: Other Plan Provisions

            a. Vesting of Property of the Estate Property of the Estate shall revest in the Debtor:
                            X        Upon Confirmation

                                     Upon Discharge



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      b. Payment Notices Creditors and Lessors provided for in Parts 4, 6 or 7 may continue to mail
customary notices or coupons to the Debtor notwithstanding the automatic stay.

            c. Order of Distribution The Trustee shall pay allowed claims in the following order:

                         1)           Trustee Commissions

                         2)           Other Administrative Claims

                         3)           Secured Claims

                         4)           Lease Arrearages

                         5)           Priority Claims

                         6)           General Unsecured Claims

      d. Post-petition claims The Trustee is , is not authorized to pay post-petition claims filed
pursuant to 11 U.S.C. Section 1305(a) in the amount filed by the post-petition claimant.


Part 9 : Modification

If this plan modifies a plan previously filed in this case, complete the information below.

Date of Plan being modified:January 9, 2014
Explain below why the Plan is being modified.                                          Explain below how the Plan is being modified
 The debtor is modifying her Chapter 13 Plan to include                                The debtor will increase her Chapter 13 Plan payment
 post-petition mortgage arrears owed on both of the PNC                                beginning April 1, 2015.
 Mortgages.
 Are Schedules I and J being filed simultaneously with this modified                                      Yes                  No
 Plan?

Part 10: Sign Here

            The debtor(s) and the attorney for the debtor (if any) must sign this Plan.

 Date March 13, 2015                                                           /s/ S. Daniel Hutchison
                                                                               S. Daniel Hutchison SH-6931
                                                                               Attorney for the Debtor

            I certify under penalty of perjury that the foregoing is true and correct.
 Date March 13, 2015                                                   Signature   /s/ Sharon L. Hamlin
                                                                                   Sharon L. Hamlin
                                                                                   Debtor




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